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THE SEHAT LAW FIRM, PLC
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Attorney for Plaintiff, Pamela Marie Fields

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

PAMELA MARIE FIELDS, Case No.: 2114-cv-04937-SVW-1\/1RW
Individually and on behalf of the estate

of DONTE LAMONT JORDAN,
STIPULATION OF VOLUNTARY DISMISS

Plaintiff, OF ENTIRE COMPLAINT BY PLAINTIFF
PAMELA FIELDS WITH PREJUDICE

CITY OF LONG BEACH, and 10
UNKNOWN OTHER NAMED
EMPLOYEES OF THE CITY OF
LONG BEACH,

Defendants.

 

STIPULATION

TO THE HONORABLE STEPHEN V. WILSON, U.S DISTRICT JUDGE PRESIDING:

IT IS HEREBY STIPULATED that by and between the parties pursuant to Fed. R. Civ.
Proc. Rule 41 (a)(l)(ii) that plaintiff Pamela Marie Fields individually and on behalf of the estate
of Donte Lamont Jordan, dismisses her entire Complaint, against the defendant City of Long
Beach, and 10 unknown other named employees of the city of Long Beach with prejudice.

IT IS HEREBY STIPULATED that Plaintiff Pamela Marie Fields, individually and on

behalf of the estate of Donte Lamont Jordan, and her attorney of record, Cameron Sehat, Esq.,

agree to bear their own costs, including attorney's fees and expenses pursuant to 42 U.S.C. sect.

STIPULATlON OF` VOLUNTARY DlSMISSAL OF ENTIRE COMPLAINT BY PLAINTlFF PAMELA
FlELDS WITH PREJUDICE

 

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1988, and defendants, City of Long Beach, and 10 unknown other named employees of the city
of Long Beach, and their counsel Monte H. Machit, City Attomey at Office of the Long Beach
City Attorney agree to bear their own costs and fees. The parties ftuther stipulate that the Court

should retain jurisdiction to enforce the terms of the settlement in this case.

THE SEHAT _ FIRM, PLC

Date: 1/13/2015 By:
ron Seh t, Attorney for Plaintiff
Pam a Mari Fields

OFFICE OF THE LONG BEACH CITY ATTORNEY

Date: 1/13/2015 By: /s/Monte H. Machit
Monte H. Machit, Assistant City Attomey
Attorney for the City of Long Beach

 

STlPU LATION OF VOLUNTARY DISMISSAL OF ENTIRE COMPLAINT BY PLAINTlFF PAMELA
FlELDS WITH PREJUDICE

 

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